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                               UNITED STATES BANKRUPTCY COURT
                              EASTERN DISTRICT OF NORTH CAROLINA
                                     GREENVILLE DIVISION

     IN RE:                                                        )
                                                                   )             Case No. 19-01227-5-JNC
     CAH ACQUISITION COMPANY 16, LLC,                              )
     d/b/a HASKELL COUNTY COMMUNITY                                )             Chapter 11
     HOSPITAL,                                                     )
                                                                   )
                       Debtor.                                     )
                                                                   )

  TRUSTEE’S MOTION FOR AUTHORITY TO (1) REJECT CERTAIN EXECUTORY
      CONTRACTS WITH iHEALTHCARE MANAGEMENT II COMPANY AND
     iHEALTHCARE SOFTWARE SERVICES, INC.; (2) ENTER INTO INTERIM
 MANAGEMENT AGREEMENT WITH COHESIVE HEALTHCARE MANAGEMENT
       & CONSULTING LLC; AND (3) PROVIDE COHESIVE HEALTHCARE
  MANAGEMENT & CONSULTING LLC WITH AN ALLOWED ADMINISTRATIVE
 CLAIM IN THE AMOUNT OF $497,790.14 FOR CERTAIN EXPENSES INCURRED TO
            PRESERVE AND MAINTAIN THE DEBTOR’S ESTATE

            NOW COMES Thomas W. Waldrep, Jr., trustee (the “Trustee”) for CAH Acquisition

 Company 16, LLC d/b/a Haskell County Community Hospital (the “Debtor”), by and through his

 undersigned counsel, and pursuant to Sections 363, 365, 503, 543 and 1107 of Title 11 of the

 United States Code, 11 U.S.C. §§ 101 et seq. (the “Bankruptcy Code”), and Rules 6004 and 6006

 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), hereby moves the Court

 for entry of an Order authorizing the Trustee to: (i) reject certain pre-petition executory contracts

 between the Debtor, iHealthcare Management II Company, a Florida corporation (“Manager”),

 and iHealthcare Software Services, Inc., a Florida corporation (“Consultant”)1; (ii) enter into an

 Interim Management Agreement for Haskell County Community Hospital                             (the “Interim

 Management Agreement”) between the Debtor and Cohesive Healthcare Management &

 Consulting LLC (“Cohesive”); and (iii) provide Cohesive with an allowed administrative claim



 1
     Manager and Consultant shall hereinafter be referred to collectively as “iHealthcare.”


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 under Section 503 of the Bankruptcy Code in the amount of $497,790.14 for certain expenses

 incurred by Cohesive to preserve and maintain the Debtor’s estate. In support thereof, the Trustee

 respectfully states as follows:

                                   JURISDICTION AND VENUE

        1.       This Court has jurisdiction to entertain the Motion pursuant to 28 U.S.C. §§

 157 and 1334. Consideration of the Motion is a core proceeding pursuant to 28 U.S.C. §

 157(b)(2)(A).

        2.       Venue is proper in this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

        3.       The statutory predicates for the relief requested herein are Sections 363, 365, 503,

 543 and 1107 of the Bankruptcy Code, and Bankruptcy Rules 6004 and 6006.

                                   FACTUAL BACKGROUND

 Procedural Background

        4.       On March 17, 2019 (the “Petition Date”), the Debtor filed a voluntary petition for

 relief under Chapter 11 of the Bankruptcy Code before this Court.

        5.       On March 18, 2019, the Court entered an Order approving the appointment of the

 Trustee. The Trustee is the duly appointed, qualified, and acting trustee of the Debtor’s estate.

        6.       The Debtor operates Haskell County Community Hospital (“Haskell”), a twenty-

 five-bed, for-profit, Critical Access Hospital in Stigler, Oklahoma. Haskell provides acute care,

 swing bed, emergency medicine, radiology, physical rehabilitation, laboratory, skilled nursing, and

 related outpatient ancillary services to residents in Stigler and in surrounding communities.

 Haskell also operates the Specialty Clinic of Stigler (the “Clinic”). The Clinic is adjacent to

 Haskell.




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        7.       Upon information and belief, the Debtor is currently owned by HMC/CAH

 Consolidated, Inc. (“HMC”) (20% interest) and Health Acquisition Company, LLC (“HAC,” and

 together with HMC, the “Owners”) (80% interest). Upon information and belief, the Owners are

 in the business of acquiring and operating a system of acute care hospitals located in rural

 communities that are certified by The Centers for Medicare and Medicaid Services (“CMS”) as

 Critical Access Hospitals. Upon information and belief, the Owners own and/or operate rural

 hospitals in several states, including Kansas, North Carolina, Missouri, Tennessee, and Oklahoma.

 Pre-Petition Management of Haskell

        8.       Upon information and belief, through and until January 7, 2019, EmpowerHMS

 LLC (“EmpowerHMS”) managed Haskell under one or more contracts with the Debtor.

 EmpowerHMS is a Delaware limited liability company headquartered in Kansas City, Kansas.

 Upon information and belief, EmpowerHMS formerly provided the financial support, legal

 support, centralized business office, and revenue cycle and IT services necessary to Haskell’s

 operations.

        9.       Upon information and belief, as of January 7, 2019, EmpowerHMS no longer

 operated or managed Haskell, the management of which was transferred by EmpowerHMS to

 iHealthcare pursuant to (i) a Management and Administrative Services Agreement (the

 “Terminating Management Agreement”) dated as of January 7, 2019, by and between the Debtor

 and Manager; (ii) an EHR and RCM Services Agreement dated as of January 7, 2019 by and

 between the Debtor and Consultant; and (iii) an IT Help Desk Support & Daily Backup Services

 Agreement also dated as of January 7, 2019 by and between the Debtor and Consultant (together

 with the EHR and RCM Services Agreement, collectively, the “Terminating Services

 Agreements”).




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         10.     Upon information and belief, after January 7, 2019, iHealthcare attempted to begin

 managing Haskell, but such efforts were delayed by a number of transition and financial issues

 with EmpowerHMS.

         11.     On or around March 11, 2019 (the “Receivership Date”), Cohesive was appointed

 as receiver by an Oklahoma state court to manage Haskell.

         12.     In its capacity as court-appointed receiver, between the Receivership Date and the

 Petition Date, Cohesive maintained Haskell in an operational status and spent significant financial

 and human resources in maintaining and preserving the Debtor’s estate.

         13.     Between the Receivership Date and the Petition Date, Cohesive provided operating

 capital to Haskell in the amount of $159,292.30 to preserve Haskell’s operations (the “Pre-Petition

 Advances”). A breakdown of the Pre-Petition Advances is attached hereto as Exhibit A. The Pre-

 Petition Advances were provided by Cohesive to pay several categories of expenses, including

 wages and salaries of Haskell employees, payments into employee benefit plans, medical

 inventory, and physical facility supplies, all of which were necessary to maintain Haskell as a

 going concern and thus to preserve the value of Haskell for creditors and all other parties in interest

 in this case.

 Post-Petition Events

         14.     As was the case Pre-Petition, Cohesive continued to maintain Haskell in an

 operational status Post-Petition and continued to provide operating capital to Haskell Post-Petition

 to cover expenses on behalf of Haskell (the “Post-Petition Advances”). The Post-Petition

 Advances amount to $337,497.84. A breakdown of the Post-Petition Advances is attached hereto

 as Exhibit A. Without either the Pre-Petition Advances or the Post-Petition Advances, the Trustee




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 does not believe that Haskell could have operated following the Receivership Date or the Petition

 Date.

         15.    Since his appointment on March 18, 2019, the Trustee has been administering the

 estate of the Debtor, as well as the seven other affiliated debtors in bankruptcy cases currently

 pending before this Court (collectively, the “Affiliated Debtors”). See Order Directing Joint

 Administration of Chapter 11 Cases, Case No. 19-00730, Dkt. No. 75.

         16.    The Trustee has concluded that in order to preserve the property of the Debtor’s

 estate, to prevent further loss to the estate, and to maximize the value of the assets of Haskell for

 the benefits of creditors of the Debtor, Haskell must be maintained in a healthy operational status.

 Haskell must keep its license as a Critical Access Hospital; preserve and maintain its drugs,

 equipment, and supplies; preserve and safeguard patient records; and, most importantly, continue

 providing for the public health of residents of the Stigler, Oklahoma area, many of whom depend

 on Haskell and the Clinic as the only avenue for emergency healthcare.

 Future Management of Haskell

         17.    In order to operate Haskell, in the most cost-efficient manner, the Trustee must

 retain a healthcare management company that is able to provide the centralized business office,

 revenue cycle management, billing, patient record, patient intake, and IT services necessary to

 Haskell’s operations. In traditional “healthy” hospital settings, such management agreements can

 run well into the hundreds of thousands of dollars per month.

         18.    The Trustee has reviewed the Terminating Management Agreement and

 Terminating Services Agreement with iHealthcare and concluded that such agreements are not

 appropriate to deal with the current, post-petition situation at Haskell. As such, the Trustee seeks

 Court authority to terminate these contracts with iHealthcare as of the Petition Date.




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         19.     Recognizing the truly distressed setting of Haskell, coupled with the fact that the

 Trustee does not have an unlimited budget or timeline in this case, the Trustee has concluded, in

 his business judgment and after considering several proposals from functionally-similar healthcare

 management companies, that Cohesive offers the best feasible option for managing Haskell, on an

 interim basis, until the operations of Haskell are properly stabilized. Additionally, Cohesive’s

 current familiarity with Haskell reduces the timeline and cost of engaging a manager for this

 particular hospital.

         20.     The Trustee has negotiated the Interim Management Agreement with Cohesive that

 (i) recognizes the Trustee’s authority over all of Haskell’s decisions, management, and operations

 and (ii) proposes a feasible, discounted fee structure that acknowledges the financially distressed

 condition of Haskell. The proposed Interim Management Agreement is attached hereto as Exhibit

 B.

         21.     The key terms of the Interim Management Agreement are as follows:

                 a. Term: Five (5) years, but subject to a 30-day termination for any reason by the

                        Trustee or by Cohesive.

                 b. Management Fee: $225,000 per month, which shall be paid as follows: $40,000

                        on or before the 1st of each month (to be prorated during the month of the

                        Effective Date with such prorated amount being paid within three (3) days of

                        the Effective Date) and the remainder to be paid from Haskell’s receipt of the

                        components of the Management Fee from whatever source received.            In

                        addition, Cohesive shall be entitled to a seven percent (7%) fee of Haskell’s

                        receipts for its performance of revenue cycle management functions on behalf




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                   of Haskell. Cohesive shall also be entitled to be paid for staffing services at

                   cost plus twenty percent (20%) from Haskell’s receipts.

                c. Management Services: Cohesive shall perform all the duties that are typical and

                   customary for a manager of an acute general medical and surgical hospital, as

                   outlined in detail in the Interim Management Agreement.

                d. Reports: Cohesive shall provide Trustee with regular and timely written

                   management reports, as needed, to ensure Haskell maintains compliance with

                   all federal and state law regulations, and with any relevant bankruptcy issues.

                e. Limitations on Cohesive’s Duties and Powers: Cohesive lacks the authority to

                   carry out any decisions out of the ordinary course of business unless with prior

                   written authority by the Trustee.

                f. Termination: Trustee or Cohesive may terminate the Interim Management

                   Agreement for any reason upon providing thirty (30) days’ written notice to the

                   other party.

                                     RELIEF REQUESTED

 Authority to Reject Terminating Management Agreement and Terminating Services Agreement

        22.     The Trustee seeks authority from this Court, pursuant to Section 365 of the

 Bankruptcy Code and Bankruptcy Rule 6006, to reject the Terminating Management Agreement

 and Terminating Services Agreements, both executory contracts, because these contracts (i) are no

 longer necessary or appropriate in connection with the operation of Haskell’s business, (ii) offer

 no economic value to the Debtor’s estate, and (iii) will impede the goal of reopening Haskell

 without a significant fee associated with such management contracts.




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        23.     Section 365(a) authorizes a trustee or debtor-in-possession to reject any executory

 contract or unexpired lease, subject to bankruptcy court approval. 11 U.S.C. § 365(a).

        24.     Although Section 365(a) does not provide a standard for determining when

 rejection is appropriate, bankruptcy courts have traditionally applied the “business judgment

 standard in determining whether to permit the rejection of any executory contract or unexpired

 lease.” See NLRB v. Bildisco & Bildisco, 465 U.S. 513, 523 (1984); Lubrizol Enters., Inc. v.

 Richmond Metal Finishes, Inc., 756 F.2d 1043, 1046-47 (4th Cir. 1985); In re Minges, 602 F. 2d

 38, 42 (2d Cir. 1979). The decision to reject a lease or executory contract is to be accepted unless

 it is shown that the debtor’s decision was one taken in bad faith or in gross abuse of the debtor’s

 retained business discretion. Lubrizol, supra.

        25.     For the reasons stated herein, the Trustee submits that he has satisfied the business

 judgment standard in seeking rejection of the Terminating Management Agreement and

 Terminating Services Agreement with iHealthcare, and requests authority from this Court to do so

 effective as of the Petition Date.

 Authority to Enter into Interim Management Agreement

        26.     The Trustee seeks authority from this Court, pursuant to Section 363 of the

 Bankruptcy Code and Bankruptcy Rule 6004, to enter into the Interim Management Agreement

 with Cohesive.

        27.     Section 363(b) authorizes a trustee or debtor-in-possession to use, sell, or lease

 property of the estate other than in the ordinary course of business, subject to notice, a hearing,

 and bankruptcy court approval. 11 U.S.C. § 363(b).




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           28.   The Trustee seeks authority to enter into the Interim Management Agreement with

 Cohesive so that Cohesive can provide management services to Haskell, on an interim basis, until

 Haskell’s operations are properly stabilized.

           29.   The Trustee believes Cohesive is best suited to provide such management services

 given that Cohesive (i) was already serving as the management company for Haskell and one of

 the Affiliated Debtors (CAH Acquisition Company 7, LLC d/b/a Prague Community Hospital)

 prior to the Petition Date, and is thus familiar with the specific obstacles faced by Critical Access

 Hospital facilities in rural Oklahoma; (ii) already has access to all of the software, patient records,

 billing records, and administrative records of Haskell; (iii) has agreed to the terms of the Interim

 Management Agreement that recognize the truly distressed nature of Haskell with regard to

 management fees and management services; and (iv) is willing and able to undertake the

 management tasks at Haskell without significant delay or immediate expenditure by the Debtor’s

 estate.

           30.   Notably, the Trustee seeks to employ Cohesive in an identical capacity, as interim

 manager, in three of the Affiliated Debtors’ cases: (i) CAH Acquisition Company #4, Inc. d/b/a

 Drumright Regional Hospital; (ii) CAH Acquisition Company 7, LLC d/b/a Prague Community

 Hospital; and (iii) CAH Acquisition Company 12, LLC d/b/a Fairfax Community Hospital. This

 unity of management will provide substantial administrative and economic benefits to each of the

 respective debtors’ estates.

           31.   Therefore, the Trustee believes it is in the best interests of the Debtor’s estate to

 enter into the Interim Management Agreement with Cohesive for the management of Haskell on

 an interim basis.




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Authority to Provide Cohesive an Allowed Administrative Claim in the Amount of $497,790.14
for the Pre-Petition Advances and Post-Petition Advances

          32.   Finally, the Trustee moves the Court for entry of an Order providing Cohesive with

an allowed administrative claim under Section 503 of the Bankruptcy Code for the Pre-Petition

Advances and Post-Petition Advances funded by Cohesive to preserve and maintain the Debtor’s

Estate.

          33.   Section 543(c)(2) of the Bankruptcy Code authorizes the payment—subject to

notice, a hearing, and bankruptcy court approval —of reasonable compensation for services

rendered and costs and expenses incurred by a custodian appointed before a bankruptcy case who

held property of a debtor’s estate. 11 U.S.C. § 543(c)(2). Relatedly, Section 503(b)(3)(E) of the

Bankruptcy Code authorizes the payment, as an administrative expense, of the actual, necessary

expenses (other than legal or accounting fees) incurred by a custodian who is superseded by a

trustee in bankruptcy. 11 U.S.C. § 503(b)(3)(E).

          34.   Section 503(b)(1)(A) of the Bankruptcy Code authorizes the payment of an

administrative expense—subject to notice, a hearing, and bankruptcy court approval—incurred by

an entity for the actual and necessary costs and expenses of preserving the estate. 11 U.S.C. §

503(b)(1)(A). Additionally, Section 503(b)(3)(D) of the Bankruptcy Code authorizes the payment

of an administrative expense to a creditor that has made a substantial contribution to in a case

under Chapter 9 or 11 of the Bankruptcy Code. 11 U.S.C. § 503(b)(3)(D).

          35.   The Trustee believes that both the Pre-Petition Advances and the Post-Petition

Advances by Cohesive not only preserved and maintained the Debtor’s estate, but also were a

substantial contribution to the Debtor’s Chapter 11 case. Significantly, these advances provided

by Cohesive allowed Haskell to continue operations after both the Receivership Date and the

Petition Date and therefore reduced—or completely eliminated—any costs to the Debtor’s estate



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related to the resumption of operations at Haskell. Therefore, the Trustee moves the Court to

provide Cohesive with an allowed administrative claim under Section 503 of the Bankruptcy Code

for the Pre-Petition Advances and Post-Petition Advances, which total $497,790.14 (the “Cohesive

Administrative Claim”).

       36.     The Trustee further requests authority from the Court to pay Cohesive the amount

of the Post-Petition Advances ($337,497.84) immediately upon entry of the Order allowing the

Cohesive Administrative Claim. The balance of the Cohesive Administrative Claim, the Pre-

Petition Advances ($159,292.30) shall not be paid immediately, but shall remain as an

administrative priority claim to be paid later in the case.

       WHEREFORE, the Trustee respectfully requests that the Court enter an Order:

       1.      Authorizing the Trustee to reject the Terminating Management Agreement and

Terminating Services Agreement effective as of the Petition Date, pursuant to Section 365(a) of

the Bankruptcy Code;

       2.      Authorizing the Trustee to enter into the Interim Management Agreement, pursuant

to Section 363(b) of the Bankruptcy Code;

       3.      Providing Cohesive with an allowed administrative claim under Section 503 of the

Bankruptcy Code for the Pre-Petition Advances and Post-Petition Advances, which total

$497,790.14;

       4.      Authorizing the Trustee to pay the amount of the Post-Petition Advances

($337,497.84) immediately upon entry of the Order allowing the Cohesive Administrative Claim;

and

       5.      Granting such other and further relief as this Court deems just and proper.




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      Respectfully submitted, this the 22nd day of April, 2019.

                                   WALDREP LLP

                                   /s/ Thomas W. Waldrep, Jr.         ____________
                                    Thomas W. Waldrep, Jr. (NC State Bar No. 11135)
                                    Jennifer B. Lyday (NC Bar No. 39871)
                                    Francisco T. Morales (NC Bar No. 43079)
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                                   - and –


                                   HENDREN, REDWINE & MALONE, PLLC

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                                   Proposed Attorneys for the Trustee




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                                  EXHIBIT A




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Haskell County Community Hospital

                     Description                          Date           Amount
       WIRE TRANSFER FROM COHESIVE - Payroll            3/13/19           150,000.00
       CREDIT CARD - BECKMAN COULTIER LAB               3/13/19             2,280.72
               CREDIT CARD - CLIA LAB                   3/14/19             1,550.00
              CREDIT CARD - MCKESSON                    3/17/19             $341.69
       CREDIT CARD - BECKMAN COULTIER LAB               3/17/19               $30.25
             CREDIT CARD - LAB SUPPLIES                 3/13/19            $2,121.86
       CREDIT CARD - BECKMAN COULTIER LAB               3/17/19             $467.78
   PHARMACY ADVANCED FROM PAWHUSKA HOSPITAL             3/17/19             2,500.00

                   TOTAL TRANSFERS FROM COHESIVE PRIOR TO BANKRUPTCY      159,292.30



              CREDIT CARD - GO DADDY                    3/18/19             $479.13
       CREDIT CARD - BECKMAN COULTIER LAB               3/18/19               $57.37
              CREDIT CARD - MCKESSON                    3/24/19               201.52
              CREDIT CARD - MCKESSON                    3/27/19               632.98
       WIRE TRANSFER FROM COHESIVE - Payroll            3/28/19           112,000.00
              CREDIT CARD - MCKESSON                    3/31/19             1,148.08
            CREDIT CARD - OFFICE DEPOT                   4/1/19               170.05
             CREDIT CARD - CT SCANNER                    4/8/19             5,800.00
            CREDIT CARD - OFFICE DEPOT                   4/1/19               276.98
            CREDIT CARD - OFFICE DEPOT                   4/1/19               271.57
            CREDIT CARD - OFFICE DEPOT                   4/1/19                52.68
            CREDIT CARD - OFFICE DEPOT                   4/1/19                12.64
                Cloud Services LLC - IT                  4/9/19               159.00
                   Alpha Card - IT                      4/10/19             1,194.43
       CREDIT CARD - BECKMAN COULTIER LAB               4/14/19             3,305.26
       CREDIT CARD - BECKMAN COULTIER LAB               4/14/19             2,371.64
       CREDIT CARD - BECKMAN COULTIER LAB               4/14/19               825.90
       CREDIT CARD - BECKMAN COULTIER LAB               4/16/19               249.75
       WIRE TRANSFER FROM COHESIVE - Payroll            4/11/19            20,000.00
       WIRE TRANSFER FROM COHESIVE - Payroll            4/12/19           188,288.86

                      TOTAL TRANSFERS FROM COHESIVE AFTER BANKRUPTCY      337,497.84
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                                  EXHIBIT B




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       INTERIM MANAGEMENT AND HOSPITAL SERVICES AGREEMENT




                                 by and between




        COHESIVE HEALTHCARE MANAGEMENT & CONSULTING LLC


                                      and


              CAH ACQUISITION COMPANY 16, LLC, DEBTOR IN
        CASE NO 19-01227-5-JNC, UNITED STATES BANKRUPTCY COURT
             FOR THE EASTERN DISTRICT OF NORTH CAROLINA




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        INTERIM MANAGEMENT AND HOSPITAL SERVICES AGREEMENT


       THIS INTERIM MANAGEMENT AND HOSPITAL SERVICES AGREEMENT (the
“Agreement”) is made and entered into on the ______ day of ______, 2019 (the “Effective Date”)
by and between the following parties:

   (i) Thomas W. Waldrep, Jr., in his capacity as the Court-appointed trustee (the “Trustee”)
       for CAH Acquisition Company 16, LLC (the “Owner”), a Delaware limited liability
       company that owns, operates, and holds the license for that certain acute general medical
       and surgical hospital known as Haskell County Community Hospital located at 401 NW H
       Street, Stigler, Oklahoma 74462 (the “Hospital”); and

   (ii) Cohesive Healthcare Management & Consulting LLC, an Oklahoma limited liability
        company (the “Manager”).

       The Trustee, Owner, and Manager are sometimes referred to herein individually as a
“Party” or collectively as the “Parties.”

                                            RECITALS
       WHEREAS, Owner is currently a Chapter 11 debtor in a bankruptcy case pending before
the United States Bankruptcy Court for the Eastern District of North Carolina, Greenville Division
(the “Bankruptcy Court”) styled In re CAH Acquisition Company 16, LLC, d/b/a Haskell
Community Hospital, Case No. 19-01227-5-JNC, which bankruptcy case is being jointly
administered with a bankruptcy case styled In re CAH Acquisition Company #1, LLC d/b/a
Washington County Hospital, Case No. 19-00730-5-JNC (the “Bankruptcy Case”);
        WHEREAS, Thomas W. Waldrep, Jr., is the duly appointed and acting Chapter 11 Trustee
in the Bankruptcy Case;
       WHEREAS, the Trustee desires to engage the Manager to manage the Hospital, on an
interim basis, under the terms of this Agreement;
      WHEREAS, the Parties agree that this Agreement is subject to the approval of the
Bankruptcy Court, which approval the Trustee agrees to promptly seek; and
       WHEREAS, the Manager has expertise in providing hospital management services to
hospitals and desires to provide such services to the Hospital under this Agreement.
        NOW, THEREFORE, in consideration of the mutual promises, covenants, and conditions
herein stated and in consideration of the mutual benefits that will accrue to each of the Parties, the
Parties have agreed and do hereby agree as follows:




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                                  ARTICLE I – DEFINITIONS
       Section 1. Definitions.       For the purposes of this Agreement, the following terms
have the meanings provided for in this Section 1, unless the context clearly requires otherwise:
        Affiliate: Any person or entity that controls, is controlled by, or is under common control
with a Party, including any director, officer, principal, shareholder, or equity owner of a Party, and
any subsidiary, parent, or other organization in which a Party or any director, officer, principal,
shareholder, or equity owner of a Party owns any interest or maintains any financial relationship,
including any equity or debt investment and compensation arrangement. “Affiliate” also includes
the parent company-subsidiary relationship.
        Agreement: This Management Services Agreement, together with all schedules and
exhibits attached hereto, each of which are incorporated herein as an integral part of this
Agreement.
        Annual Plan: A narrative report of Manager’s major management goals and intended
actions for the appropriate Operating Year approved by the Trustee.
        Capital Expenditure: All expenditures for building additions, alterations, repairs, or
improvements and for purchases of additional or replacement furniture, machinery, or equipment,
where the cost of such expenditure is equal to or greater than Five Thousand Dollars ($5,000.00)
and the depreciable life of the applicable item, according to generally accepted accounting
principles, is in excess of five (5) years.
        Capital Plan: A schedule of proposed Capital Expenditures to be made for the purpose of
allowing the Trustee to consider such Capital Expenditures and to prepare and update a long-term
capital investment budget.
        Confidential Information: All Patient Files, all Documentation, including all information
contained therein or derived therefrom, and any trade secrets, propriety business techniques, or
confidential information of a disclosing Party, including information disclosed by a Party to the
other or learned by a receiving Party as a result of its access to any personnel, systems, data, files,
documents, offices, property, or personnel of the disclosing Party. A disclosing party’s
Confidential Information shall not include information that:
       1. Is or becomes a part of the public domain through no act or omission of the receiving
          Party;
       2. Was in the receiving Party’s lawful possession prior to the time such information was
          disclosed to or learned by the receiving Party from or by access to the disclosing Party,
          and at the time of such prior possession the receiving Party was not under a duty of
          confidentiality to the disclosing Party with respect thereto;
       3. Is lawfully disclosed to the receiving Party by a third party without restriction imposed
          by the third party on the receiving Party’s further disclosure of such information; or
       4. Is independently developed by the receiving Party by its personnel not having access
          to such Confidential Information.


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        CPI: The “Consumer Price Index” for the area in which the Hospital is physically located
as published by the United States Department of Labor’s Bureau of Labor Statistics, or such other
successor or similar index.
       Documentation: Technical, policy, procedural, and administrative manuals, training
materials, standard report forms, and other materials that contain information regarding the
operation and management of the Hospital together with the information contained therein and
derived therefrom.
       Dispute: Any claim, controversy, or dispute arising out of or relating to this Agreement.
      Executive Personnel: All employees, agents, and independent contractors employed by
the Manager pursuant to Section 11 of this Agreement.
       Effective Date: As defined in the opening paragraph of this Agreement, which is the date
on which the Bankruptcy Court entered an Order approving this Agreement.
        Event of Force Majeure: An act of God, fire, earthquake, hurricane, flood, riot, civil
commotion, terrorist act, terrorist threat, storm, washout, wind, lightning, landslide, explosion,
epidemic, inability to obtain materials or supplies, accident to machinery or equipment, any law,
ordinance, rule, regulation, or order of any public or military authority steaming from the existence
of economic or energy controls, hostilities or war, a labor dispute that results in a strike or work
stoppage affecting the Trustee or the Manager, or any other cause or occurrence outside of the
reasonable control of the Party claiming an inability to perform and which by the exercise of due
diligence could not be reasonably prevented or overcome.
        Federal Health Care Program: As defined in 42 USC § 1320(a)-7b(f), any plan or
program that provides health benefits, whether directly, through insurance, or otherwise, that is
funded, in whole or in part, by the United States government, including the following: Medicare
Program, Parts A & B (including Medicare as a secondary payer); Medicare Advantage Program
(also called “Medicare Replacements” or Medicare Part C); Medicaid; Federal Prison Hospitals;
Indian Health Service; FECA and OWCP (workers’ compensation programs for federal
employees); Public Health Service; Railroad Retirement Board; The Black Lung Program;
TRICARE/CHAMPUS/Department of Defense Health Care Programs; and Veterans
Administration.
        Jeopardy Issue: Any of the following with respect to a Party: (a) loss of any licensure; (b)
exclusion of the Party, or any of its respective owners or principals, from any Federal Health Care
Program, loss of participation in, or the payment or reimbursement from, Medicare; (c) loss of full
accreditation by any state or nationally recognized accrediting organization; (d) loss of, or
sanctions with respect to, the federal tax-exempt status of the Owner or its Affiliates under Section
501(c)(3) of the Internal Revenue Code, as amended from time to time; (e) loss of the Hospital’s
status a critical access hospital under Section 1820 of the federal Social Security Act; (f) a violation
of any Law that is applicable to either Party or this Agreement, the violation of which substantially
impairs the viability or fundamental purpose of this Agreement, whether or not, in the case of a
change in Law, such change has become effective.

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        Law: All applicable federal, state, and local laws, ordinances, court decisions and orders,
rules, and regulations.
      Management Fee: The monthly fee the Owner shall pay to the Manager under this
Agreement, as more fully described this Agreement.
       Management Services: As defined in Section 3 of this Agreement.
      Manager’s Mark: The Manager’s logo in the form, both print and electronic, that the
Manager will provide to the Owner for use by the Hospital.
       Medicare: The federal Medicare program administered by the United States Department
of Health and Human Services Centers for Medicare and Medicaid Services, or successor
organization.
        Non-Executive Personnel: All employees, agents, and independent contractors employed
or retained by the Hospital who are not classified as Executive Personnel. Non-Executive
Personnel may be employed by entities other than the Owner, including by staffing agencies.
       Operating Accounts: Such interest-bearing bank or other deposit accounts established for
control of the flow of funds received and disbursed in the operation of the Hospital under this
Agreement.
       Operating Expenses: All expenses incurred in connection with the operation of the
Hospital under this Agreement; provided, however, that the term “Operating Expenses” shall not
include any of the Owner’s repayment obligations to CMS or to any other third-party payor.
        Operating Year: The Operating Year for the Hospital shall coincide with the Owner’s
current cost reporting year.
        Patient Files: All files, charts and records, including medical records and financial records,
of all patients of the Hospital.
        Reimbursable Expenses: Actual, reasonable, verifiable, out-of-pocket, business expenses
incurred by the Manager in connection with the performance of the Manager’s obligations under
this Agreement and in furtherance of the business of the Hospital, such as business travel, meals
and incidental expenses, but not costs or expenses related to engaging consultants, subcontracting
for services, or any other activities that are contemplated to be performed by the Manager under
this Agreement.
        Annual Budget: A line item budget proposed by the Manager and approved by the Trustee
for the operation of the Hospital on an annual basis.
       Trustee: Thomas W. Waldrep, Jr., the Court-appointed Trustee in the Bankruptcy Case.
       Term: As defined in Section 8 of this Agreement.
      Termination Date: The date on which a terminating Party effectively terminates this
Agreement in accordance with its terms.

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                                 ARTICLE II – SERVICES
      Section 2. Engagement.
      A. The Trustee, in recognition of the experience of the Manager, hereby engages the
         Manager to manage and operate the Hospital on behalf of the Trustee.
      B. The Manager hereby accepts such engagement, and shall perform the services
         described herein, subject to the limitations expressly set forth in this Agreement, as an
         independent contractor of the Owner.
      C. The Manager shall not engage in any business activity that unreasonably and
         substantially interferes with its ability to discharge its duties under this Agreement or
         is contrary to the interests of the Owner.

      Section 3. Services Performed.
      A. The Manager agrees, subject to the budgetary limitations listed in any applicable orders
         of the Bankruptcy Court, to manage and operate the Hospital by providing the
         Management Services described in Exhibit A hereto. The Manager shall also provide
         staffing services to the Hospital. The Manager shall also arrange for its affiliate,
         Cohesive RevOps Integration Management LLC, to provide revenue operation services
         to the Hospital.
      B. The Manager shall provide the Management Services by acting in good faith and in a
         manner that is reasonable and appropriate to meet the day-to-day requirements of the
         Hospital and in accordance with local industry standards applicable to similarly situated
         hospitals. In the absence of oral or written direction by the Trustee, the Manager shall
         be expected to exercise reasonable judgment in the provision of the Management
         Services.
      C. At all times and in every instance, the Manager’s performance shall be subject to review
         and approval by the Trustee (and, to the extent necessary, the Bankruptcy Court).
      D. The Manager shall use its best efforts and take all reasonable actions, subject to the
         provisions of this Agreement and applicable budgetary limitations and other limitations
         set out by the Bankruptcy Court, to operate the Hospital profitably, in an efficient,
         orderly, and safe manner.
      E. In performing its duties, the Manager may reasonably rely on information, opinions,
         reports, or statements, including financial statements and other financial data, prepared
         or presented by:
                     i.   The Trustee or its agents;
                    ii. Legal, accounting, or other professional advisors; or
                   iii. Other persons as to matters the Manager believes to be within such
                          person’s professional or expert competence.
      F. Unless expressly provided otherwise by this Agreement, the Manager shall have full
         authority to conduct, supervise, and manage the entirety of the day-to-day operations
         of the Hospital, including, without limitation, provision of the Management Services,
         without first obtaining prior consultations or approvals from the Owner, subject to any
         conditions imposed by the Trustee.

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      G. It is expressly agreed by the Parties that so long as this Agreement is in effect, the
         Owner shall not interfere with the day-to-day operations of the Hospital by the Manager
         and shall at no time give or communicate orders or instructions to employees or
         personnel subject to the Manager’s direction under this Agreement except as otherwise
         provided in this Agreement.
      H. Notwithstanding anything herein to the contrary, the Trustee shall have at all times full
         and final decision-making authority and control over the business, affairs, and
         operations of the Hospital, and all actions and activities of the Manager shall be subject
         to the directions of the Trustee (and, to the extent necessary, orders of the Bankruptcy
         Court).
      I. The Owner acknowledges that the Manager has not made and will not make any
         express or implied warranties or representations that the services provided by the
         Manager will result in any particular amount or level of revenue or income to the
         Owner. Further, the Manager does not guaranty any outcomes for the patients of the
         Hospital.
      J. Nothing in this Agreement is intended or shall be construed to allow the Manager to
         exercise control or direction over the manner or method by which any licensed medical
         professional provides medical services. The rendition of all such services, including the
         prescription or administration of medicine and drugs, shall be the sole responsibility of
         the appropriate licensed medical professional.
      K. During the term of this Agreement, the Owner agrees that it will not enter into any
         agreement with any other person or entity to provide the same or similar services to be
         provided by Manager hereunder.
      L. The Manager may provide its services through agreements with its parent company,
         with affiliates, or with sister organizations. The cost of any such arrangement is
         included in the management fee and no additional expense shall be incurred by the
         Owner without the Owner’s express consent.
      M. The Manager will manage cash collateral/debtor-in-possession lending to Court-
         approved budgets. The Trustee shall obtain the Bankruptcy Court’s approval for any
         budget variance that exceeds fifteen percent (15%).

      Section 4. Non-Solicitation.
      A. To the maximum extent not prohibited by Law, during the term of this Agreement,
         neither the Owner, any Affiliate of the Owner, nor any person or entity with the
         Owner’s assistance, shall, directly or indirectly:
             1. Take any action to induce any employee to quit the employment of the Manager
                 or an Affiliate of the Manager;
             2. Employ or otherwise engage any person who is or was an employee of the
                 Manager or an Affiliate of the Manager; or
             3. Induce any other person or entity to take any action to induce any employee of
                 the Manager or an Affiliate of the Manager to terminate his or her employment.
      B. The Owner acknowledges and agrees that this Section 4 is reasonable and necessary to
         protect and preserve the Manager’s legitimate business interest and to prevent any
         unfair advantage conferred on the Owner.

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      C. The Owner acknowledges and agrees that any breach of this Section 5 will result in
         irreparable injury and damage to the Manager not adequately compensable in monetary
         damages alone. Accordingly, the Owner hereby agrees that, in the event of such a
         breach, other than as specifically provided for in this Agreement or in another written
         agreement between the Parties, the Manager shall be entitled to preliminary and
         permanent injunctive relief and other equitable relief as granted by any court of
         competent jurisdiction.

                            ARTICLE III – COMPENSATION
      Section 5. Management Fee.
      A. In consideration of the Manager’s performance of its services under this Agreement,
         the Owner shall pay the Manager a Management Fee of $225,000 per month, which
         shall be paid as follows: $40,000 on or before the 1st of each month (to be prorated
         during the month of the Effective Date with such prorated amount being paid within
         three (3) days of the Effective Date) and the remainder to be paid from the Hospital’s
         receipt of the components of the Management Fee from whatever source received.
      B. In addition to the Management Fee, the Owner shall pay the Manager for staffing
         services related to Non-Executive Personnel at cost plus twenty percent (20%).
      C. In addition to the Management Fee, the Owner shall pay the Manager for revenue
         operation services at 7 percent (7%) of the Hospital’s receipts. Such revenue operation
         services shall include billing and collecting all revenues, rents, fees, and other charges
         from Hospital patients or the applicable third-party payors, including Medicare and
         Medicaid.
      D. The Manager shall perform appropriate time studies and use other efforts to identify
         and categorize allowable costs for the purposes of Medicare cost reporting.

      Section 6. No Performance Fee.
      A. The Parties intend for the Management Fee payable under this Agreement to reflect the
         reasonable value of the Manager’s services, considering the nature and extent of the
         services required, the terms of this Agreement, and the risk assumed by the Manager.
      B. Nothing in this Agreement nor any other written or oral agreement between the Owner
         and the Manager contemplates or requires the referral of any patients or business to the
         Hospital and no compensation or remuneration of any kind whatsoever payable under
         this Agreement shall be contingent upon the referral of patients or business to the
         Hospital by the Manager or its Affiliates. The compensation payable under this
         Agreement is based solely on the services to be provided by the Manager under this
         Agreement.

      Section 7. Reimbursement of Expenses.
      A. The Owner shall reimburse the Manager for Reimbursable Expenses. Reimbursable
         Expenses shall be without mark-up or profit added to such actual expenses.
      B. The Manager shall present appropriate bills or vouchers reflecting the name of the
         person or persons incurring the expense, the amount and date thereof, and the purpose


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           or purposes for the expenditure to the Owner for payment. The Owner shall provide
           such reimbursement within fifteen (15) days of receipt of appropriate bills or vouchers.
       C. If the Manager identifies a service, product, or consultation necessary for hospital
           operations but which is outside the scope of its identified management services, it shall
           present the matter to the Trustee for approval before incurring the expense. Examples
           include preparing and consulting on the cost report, external audits, etc.
       D. The Parties recognize issues may arise which require additional or more intense services
           from the Manager; in such event the parties may agree to additional reimbursement.
           As an example, if Owner decides to construct – new facility it may ask Manager to
           work with the planning and financing of the project.

                        ARTICLE IV – TERM AND TERMINATION
        Section 8. Term.        The term of this Agreement is for a period of five (5) years
commencing upon approval of this Agreement by the Bankruptcy Court. This Agreement will
automatically renew for a new five (5) year period unless either Party provides the other Party
written notice of that Party’s intention not to extend this Agreement at least 180 days prior to the
end of the initial five-year term or any subsequent five-year term.
       Section 9. Termination.
       A. This Agreement may be terminated by any of the following events:
            1. By the Trustee. By the Trustee for any reason upon providing 30 days’ prior
                written notice to the Manager.
            2. Automatic Termination. This Agreement shall automatically terminate, unless
                the Trustee in its sole discretion elects not to terminate the Agreement, should
                the Manager (a) file a petition in bankruptcy; (b) make an assignment for the
                benefit of creditors; (c) consent to the appointment of a receiver of itself; or (d)
                file a petition or answer seeking reorganization or arrangement under any
                applicable Law.
            3. By the Manager without cause upon thirty (30) days’ prior written notice to the
                Trustee;
            4. By order of the Bankruptcy Court; or
            5. By either the Trustee or the Manager upon Default of this Agreement upon
                providing the defaulting Party with written notice of such Default at least thirty
                (30) days prior to the Termination Date, provided, the defaulting Party may cure
                such Default to the reasonable satisfaction of the other Party within thirty (30)
                days after receipt of such notice.
       B. The following events shall each constitute a “Default” under this Agreement:
             1. The hospital license required for the operation of the Hospital is at any time
                 suspended, terminated or revoked due to the actions or inactions of a Party, and
                 such suspension, termination, or revocation continues in effect for a period of
                 thirty (30) consecutive days;
             2. The Manager or any director, officer, manager, or equity owner of the Manager,
                 or any Affiliate of the Manager is sanctioned by Medicare or Medicaid, or the
                 Hospital is sanctioned by Medicare or Medicaid due to the actions or inactions
                 of the Manager; or the Manager fails to maintain the hospital license of the
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                 Hospital in good standing; or the Manager fails to maintain the accreditation of
                 the Hospital with The Joint Commission or a comparable organization (if
                 applicable);
              3. The Owner fails to pay the Manager the Management Fee within ten (10) days
                 after receipt of written notice from the Manager that such payment is
                 delinquent; or
              4. Any breach by either Party of the material covenants, conditions or obligations
                 of this Agreement in any material respect.
              5. The creation or existence of a Jeopardy Issue.
       C. Upon termination of this Agreement for any reason:
              1. The Manager shall promptly discontinue the performance of all services
                 hereunder;
              2. The Owner shall promptly pay the Manager all fees due the Manager up to the
                 Termination Date, subject to proration if the Term ends other than at the end of
                 a month; and
              3. Without any further action on the part of the Manager or the Owner, the Owner
                 shall assume, all obligations arising after the Termination Date under any
                 agreements entered into by the Manager in the furtherance of its duties
                 hereunder.
       D. Any obligation of the Parties that are specifically intended to survive expiration or
          termination of this Agreement shall survive expiration or termination hereof.

                                ARTICLE V – OPERATIONS
        Section 10. Consultation and Communication. The Manager agrees to consult and
communicate with the Trustee (and, to the extent necessary, the Bankruptcy Court, through the
Manager’s Executive Personnel, from time to time (and at any time at the Trustee’s request)
regarding the Manager’s provision of services under this Agreement. It is expected the Manager
will participate in meetings or other court proceedings pending before the Bankruptcy Court if so
requested by the Trustee.
       Section 11. Executive Personnel.
       A. As part of the Management Services, the Manager shall be responsible for selecting, at
          the Manager’s sole expense but with the Trustee’s approval, the number, function,
          qualifications, and compensation, including salary and benefits, of the Executive
          Personnel and shall control the terms and conditions of such engagement or
          employment relating to such Executive Personnel, including hiring, training,
          promotion, discharge, and work duties.
       B. All Executive Personnel engaged or hired by the Manager in the performance of its
          duties hereunder shall be direct employees, agents, or independent contractors of the
          Manager, and not of the Owner or Trustee. Such Executive Personnel shall be assigned
          by the Manager to the Hospital as part of the Management Fee. The Manager shall be
          solely responsible for the payment of wages or compensation to Executive Personnel,
          and for the payment of any unemployment compensation, workers’ compensation,
          F.I.C.A, and other payroll taxes, assessments, interest and penalties of any kind
          assessed by any governmental agency that pertains to monies earned, collected, paid or
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         charged to Manager, its employees or other agents, and the Manager shall defend,
         indemnify, and hold the Trustee harmless with respect to any such liability.
      C. If the Trustee is dissatisfied with the performance of any Executive Personnel assigned
         by the Manager to the Hospital, the Parties agree to engage in good faith discussions
         and the use of commercially reasonable efforts to attempt to resolve the matter to the
         mutual satisfaction of the Parties. In the event the Parties are unable to resolve the
         matter, the Manager shall terminate or reassign such Executive Personnel upon the
         reasonable request of the Trustee.
      D. The Executive Personnel shall include at least an individual with appropriate education
         and experience to serve as a full-time chief executive officer or administrator for the
         Hospital. The administrator shall be responsible for on-site day-to-day services
         provided by the Manager under this Agreement, including supervision of other
         Executive Personnel.

      Section 12. Operating Budget.
      A. The Manager shall negotiate with pre-bankruptcy petition vendors regarding continued
         services, but the Manager cannot pay any pre-petition claims of such vendors without
         the approval of the Bankruptcy Court.
      B. To the extent modifications to the Bankruptcy Court’s approved budgets are necessary,
         the Trustee will use best efforts to request Bankruptcy Court approval of necessary
         monetary items.
      C. In addition to any other Manager-created budgets for Hospital operations requested by
         the Trustee and/or required by the Bankruptcy Court, at least ninety (90) days prior to
         the commencement of each Operating Year, the Manager shall prepare and submit to
         the Owner its proposed Annual Budget for such year. The Annual Budget shall include
         the Manager’s good faith projection of revenues, Operating Expenses, and Capital
         Expenditures, presented on an annual basis, for the upcoming Operating Year. The
         Owner agrees to provide the Manager with all information in its possession necessary
         to enable the Manager to prepare the budget.
      D. The Annual Budget shall be subject to the review and approval of the Trustee, provided
         such approval shall not be unreasonably withheld or delayed. In order for the Trustee
         to fully evaluate and analyze such budget proposal, the Manager agrees to provide to
         the Owner such reasonable financial information related to the services performed
         under this Agreement as may be requested by the Owner from time to time.
      E. If the Owner fails to approve any Annual Budget proposed by the Manager, the Owner
         shall promptly provide the Manager the specific reasons therefor and its suggested
         modification to the Manager’s proposed Annual Budget in order to make it acceptable.
         In such an event, the Parties agree to engage in good faith discussions and the use of
         commercially reasonably efforts to attempt to resolve the matter to the mutual
         satisfaction of the Parties.
      F. In the event the Owner fails, for whatever reason, to approve an Annual Budget prior
         to the commencement of the Operating Year for such the Annual Budget was
         submitted, the aggregate amount of Operating Expenses and Capital Expenditures
         reflected in the approved Annual Budget for the preceding Operating Year shall remain
         in effect until such time as a new Annual Budget has been approved.

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      G. The Manager shall use all reasonable efforts to provide the services under this
         Agreement in accordance with the Bankruptcy Court’s approved budget. However, the
         Owner acknowledges that, notwithstanding the Manager’s expertise and expertise in
         relation to the provision of services under this Agreement, the projections contained in
         any Bankruptcy Court approved budget are subject to and may be affected by changes
         in financial, economic, and other conditions and circumstances beyond the Manager’s
         control, and that the Manager shall have no independent liability if the numbers within
         the Bankruptcy Court’s approved budget are not achieved.

      Section 13. Flow of Funds.
      A. The flow of funds received and disbursed in connection with the operation of the
         Hospital shall be conducted and controlled as provided for in this Section 13.
             1. The Owner, through the Trustee, shall establish account(s) for the receipt of
                  payments for healthcare services.
             2. The account(s) established for the receipt of electronically submitted
                  receivables shall be under the sole dominion and control of the Owner.
             3. The Owner, in collaboration with the Manager, shall establish the process
                  through which receipts shall be deposited.
             4. The Owner shall establish such Operating Accounts as the Owner and Manager
                  mutually agree are necessary for the efficient operation of the Hospital. All
                  Operating Accounts shall be established in the Owner’s name at banks or other
                  financial institutions determined by the Owner.
             5. The Owner shall, in its sole discretion, determine the individuals who will be
                  authorized to draw upon Operating Accounts.
             6. In no event shall amounts deposited in any Operating Accounts be considered
                  the funds of the Manager or commingled with any other funds of the Manager.
             7. The Parties will agree on a procedure for the efficient transfer of funds to the
                  Operating Accounts.
             8. Disbursements from Operating Accounts shall be made by the Owner in
                  accordance with its own procedures, provided, the Parties specifically agree that
                  any amounts required to be expended under this Agreement shall be done at the
                  expense of and on the account of the Owner.
             9. The Parties specifically agree the Owner shall have sole authority to sign checks
                  and make withdrawals from Operating Accounts without needing to obtain the
                  co-signature of a representative of the Manager. The Owner acknowledges that
                  it would be difficult, if not impossible, for the Manager to perform its duties
                  under this Agreement in a timely and efficient manner in the event the Owner
                  does not timely make required disbursements from Operating Accounts.
      B. The Manager shall have no liability to the Owner or any third party in the event the
         Manager is unable to perform its obligations hereunder, or under any third party
         Agreement entered into pursuant to the term of this Agreement, due to the fact
         sufficient funds are not made available by the Owner to the Manager to pay such
         expenses in a timely manner. The Owner shall hold the Manager harmless in the event
         the Manager is unable to perform its obligations hereunder, or under any third-party
         Agreement entered into pursuant to the terms of this Agreement, due to the Owner’s
         failure to make sufficient funds available to the Manager.
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      C. Under no circumstances shall the Manager be expected or required to pay for or
         advance any of its own funds to pay for any Operating Expense or Capital Expenditure
         of the Entities unless otherwise agreed in writing by the Parties.

      Section 14. Insurance.
      A. During the term of this Agreement, the Manager shall continuously maintain general
         liability, directors’ and officers’ liability, workers’ compensation insurance, and
         professional liability insurance in amounts customary in the industry as mutually
         agreed by the Trustee and the Manager. Such insurance shall name the Trustee and
         Owner as additional insureds, and the policies of insurance shall provide that the
         insurance coverage may not be modified or cancelled without giving the Trustee at
         least thirty (30) days’ prior written notice. Upon request, the Manager shall provide a
         certificate of insurance to the Trustee evidencing such coverage and shall notify the
         Trustee immediately if any adverse change in coverage occurs for any reason.

      Section 15. Indemnification.
      A. The Owner shall indemnify and hold harmless the Manager and its employees and
         Affiliates from and against any and all liability, including reasonable attorneys’ fees,
         that may arise out of any negligence or intentional acts or omissions of the Owner or
         any officer or employee of the Owner, except to the extent that any such liabilities arise
         or result from a breach of this Agreement by the Manager or the negligence, willful
         misconduct, or bad faith of the Manager. Moreover, the Manager shall not, by entering
         into and performing this Agreement, become liable for the debts and obligations of the
         Owner.
      B. The Manager shall indemnify and hold harmless the Trustee and its employees and
         Affiliates from and against any and all liability, including reasonable attorneys’ fees,
         that may arise out of the negligent or intentional acts or omissions of the Manager or
         any officer or employee of the Manager, except to the extent that any such liabilities
         arise or result from an act or omission or breach of this Agreement by the Trustee or
         the negligence, willful misconduct, or bad faith of the Trustee or arise from actions
         taken by the Manager at the direction of the Trustee.
      C. This Section 15 shall survive termination of this Agreement.

      Section 16. Confidentiality.

      A. The Trustee shall provide the Manager with all data, information, reports and
         documentation in its possession or available to it that is necessary to enable the
         Manager to carry out its duties and obligations under this Agreement.
      B. Each Party agrees, both during the term of this Agreement and after termination, to
         hold the other Party’s Confidential Information in strict confidence. Each Party agrees
         not to permit the other Party’s Confidential Information to become available in any
         form to any third party or to use the other Party’s Confidential Information for any
         purpose other than for the purposes of this Agreement. The receiving Party shall take
         all reasonable steps to ensure that Confidential Information of the disclosing Party is


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           not disclosed or distributed by the receiving Party’s employees, agents or consultants
           in violation of the provisions of this Agreement.
      C.   Each Party acknowledges that any use or disclosure of the other Party’s Confidential
           Information other than as specifically provided for in this Agreement will result in
           irreparable injury and damage to the disclosing Party not adequately compensable in
           monetary damages alone. Accordingly, each Party hereby agrees that, in the event of
           use or disclosure by the receiving Party of the disclosing Party’s Confidential
           Information, other than as specifically provided for in this Agreement or in another
           written agreement between the Parties, the disclosing Party shall be entitled to
           preliminary and permanent injunctive relief and other equitable relief as granted by any
           court of competent jurisdiction.
      D.   Each Party agrees to destroy or turn over to the other Party all Confidential Information
           in its possession relating to the other Party within thirty (30) days following the
           Termination Date. If destruction or return is not reasonably possible, such Party shall
           continue to maintain, for a period of five (5) years, the Confidential Information in
           strict confidence and shall not make such Confidential Information available in any
           form to any third party or to use such Confidential Information for any purpose.
      E.   Each Party acknowledges that it obtains no ownership rights whatsoever in the
           Confidential Information of the other Party and, upon termination of this Agreement,
           each Party shall retain all rights to its Confidential Information.
      F.   The Manager and the Owner agree to comply with the Health Insurance Portability and
           Accountability Act of 1996 (“HIPAA”) and the regulations promulgated pursuant
           thereto by the United States Department of Health and Human Services, including,
           without limitation, entering into a Business Associate Agreement in a form acceptable
           to the Parties.
      G.   Nothing in this Agreement shall prohibit any disclosure of Confidential Information by
           the receiving Party when disclosure is required by applicable Law or the Bankruptcy
           Court, but only to the extent so required. The receiving Party shall inform the
           disclosing Party of the requirement and shall cooperate with the disclosing Party in
           obtaining a protective order and other reasonable protections for the Confidential
           Information subject to disclosure.
      H.   This Section 16 shall survive termination of this Agreement.

      Section 17. Access to Information.
      A. The Manager and each of the Manager’s Affiliates will allow the Comptroller General
         of the United States, the Secretary of the United States Department of Health and
         Human Services, officials administering the North Carolina Medicaid program and
         their duly authorized representatives, access to this Agreement and their books,
         documents, and records necessary to verify the nature and extent of the cost of
         providing services under this Agreement until the expiration of four (4) years after the
         services are provided under this Agreement. Such access will be provided in
         accordance with Subpart D of Title 42 of the Code of Federal Regulations and
         regulations issued pursuant to Section 1861 of the federal Social Security Act.
      B. If the Manager carries out any of its obligations under this Agreement under a
         subcontract where the value of services by, or payments to be made to, a subcontractor
         which is an Affiliate of the Manager is Ten Thousand Dollars ($10,000.00) or more,
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          the Manager agrees to include a requirement similar to that contained in this Section
          18 in any such subcontract.
       C. No attorney-client, accountant-client or other privilege shall be deemed to have been
          waived by the Owner, the Trustee, or the Manager by this provision.

       Section 18. Jeopardy Issue.
       A. Notwithstanding anything herein to the contrary, in the event this Agreement or the
          performance by any Party hereto of any term, covenant, condition or provision of this
          Agreement is likely to expose a party or its affiliates to a material risk of a Jeopardy
          Issue, then either Party may give written notice of the Jeopardy Issue to the other Party.
       B. The Parties shall immediately initiate negotiations to resolve the Jeopardy Issue
          through amendments to this Agreement or other corrective action over a period of up
          to sixty (60) days following receipt of the written notice in order to resolve the Jeopardy
          Issue with the objective of agreeing upon a resolution that minimizes, to the extent
          reasonably practicable, any adverse impact on any Party.
       C. If the Parties are unable to agree upon an amendment or other corrective action to
          resolve the Jeopardy Issue by the end of the sixty (60) day negotiation process, then
          either Party may, at its option, terminate this Agreement.

       Section 19. Clinical Site.   The Trustee agrees that the Manager may, upon reasonable
schedule, bring prospective new clients to observe the services the Manager has provided to the
Trustee.
                ARTICLE VI – REPRESENTATIONS AND COVENANTS
       Section 20. Manager’s Representations and Covenants. The Manager hereby represents
and covenants to the Trustee as follows, which such representations and covenants shall, unless
otherwise stated herein, survive the execution and delivery of this Agreement:
       A. The Manager is a limited liability company duly organized, validity existing, and in
          good standing under the laws of the State of Oklahoma.
       B. It has the full legal right, power, and authority to enter into this Agreement and to grant
          the rights and perform the obligations of the Manager herein, and that no other third-
          party consent or approval is required to grant such rights or perform such obligations
          hereunder.
       C. This Agreement has been duly executed and delivered by the Manager and constitutes
          a valid and binding obligation of the Manager, enforceable in accordance with its terms,
          except as such enforceability be limited by bankruptcy, insolvency, reorganization, or
          similar laws affecting creditors’ rights generally or by general equitable principles.
       D. To the knowledge of the Manager, neither the execution and delivery of this Agreement
          by the Manager nor Manager’s performance of any obligation hereunder:
              1. Will constitute a violation of any Law to which the Manager is subject;
              2. Shall constitute a default of any term or provision or shall cause an acceleration
                   of the performance required, under any other agreement or document to which
                   the Manager is a party or otherwise found.


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       E. Neither the Manager nor any of its owners and/or employees are excluded from
          participation in any Federal Health Care Program and to its knowledge, there are no
          pending or threatened governmental investigations that may lead to such exclusion.
          The Manager shall notify the Trustee of the commencement of any such exclusion or
          investigation within seven (7) days of first learning of it.
       F. If necessary to carry out the intent of the Agreement, the Manager agrees to execute
          and provide to the Trustee, on or after the Effective Date, any and all other instruments,
          documents, conveyances, assignments, and agreements which the Trustee may
          reasonable request in connection with the provision of services under this Agreement.

                          ARTICLE VII – GENERAL PROVISIONS
        Section 21. No Discrimination. The Manager agrees it will not discriminate against any
employee or applicant for employment for work under this Agreement because of race, religion,
color, sex, disability, national origin, ancestry, physical handicap, or age, and will take affirmative
steps to ensure applicants are employed, and employees are treated during employment, without
regard for race, religion, color, sex, disability, national origin, ancestry, physical handicap, or age.
        Section 22. Force Majeure. Neither Party shall be liable or responsible to the other Party
for any delay, loss, damage, failure, or inability to perform under this Agreement due to an Event
of Force Majeure, provided that the Party claiming failure or inability to perform provides written
notice to the other Party within thirty (30) days of the date on which such Party gains actual
knowledge of such Event of Force Majeure. Notwithstanding the foregoing, in no event shall a
Party’s failure to make payments due hereunder be excusable due to an Event of Force Majeure.
       Section 23. Assignment. This Agreement may not be assigned or delegated by the Manager
without the consent of the Trustee. The Trustee may assign its rights and obligations hereunder
without the consent of the Manager, provided that such assignment has been approved by the
Bankruptcy Court.
        Section 24. Notices. All notice required or permitted to be given pursuant to this
Agreement shall be in writing and delivered personally or sent by registered or certified mail,
return receipt requested, to the address and positions set forth below. All such notices to either
Party shall be deemed to be have been provided when delivered, if delivered personally, or three
(3) days after mailed, if sent by registered or certified mail.
       If to the Owner:                Thomas W. Waldrep, Jr., Trustee of the Owner
                                       Waldrep LLP
                                       101 S. Stratford Rd., Suite 210
                                       Winston-Salem, NC 27101

       If to the Manager:              Barry L. Smith
                                       McAffe & Taft, a Professional Corporation
                                       Williams Center Tower II
                                       Two W. Second Street, Suite 1100
                                       Tulsa, OK 74103

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        The designation of the positions to be notified and the addresses of such Parties set forth
above may be changed from time to time by written notice to the other Party in the manner set
forth above.
        Section 25. Severability.     If a court of competent jurisdiction determines that any term
of this Agreement is invalid or unenforceable to any extent under applicable law, the remainder of
this Agreement, and the application of this Agreement to other circumstances, shall not be affected
thereby, and each remaining term shall be valid and enforceable to the fullest extent permitted by
law.
       Section 26. Governing Law. This Agreement is entered into under and pursuant to, and is
to be construed and enforceable in accordance with, the laws of the State of North Carolina,
without regard to its conflict of laws principles.
        Section 27. Reasonable Actions Required. Notwithstanding any provision of this
Agreement to the contrary, the Manager agrees to perform all acts reasonably necessary to ensure
the Owner’s compliance with any and all laws related to the accounting, reporting, recording, and
retention of all revenues and expenditures of public funds.
       Section 28. Amendments.      Neither this Agreement nor any of its terms may be changed
or modified, waived, or terminated, unless as otherwise provided for herein, except by an
instrument in writing signed by an authorized representative of the Party against whom the
enforcement of the change, waiver, or termination is sought.
       Section 29. Waiver and Remedies.
       A. No failure or delay by a Party hereto to insist on the strict performance of any term of
          this Agreement, or to exercise any right or remedy consequent to a breach thereof, shall
          constitute a waiver of any breach or any subsequent breach of such term. No waiver of
          any breach hereunder shall affect or alter the remaining terms of this Agreement, but
          each and every term of this Agreement shall continue in full force and effect with
          respect to any other then existing or subsequence breach thereof.
       B. The remedies provided in this Agreement are cumulative and not exclusive of the
          remedies provided by law or in equity. Every remedy given by this Agreement may be
          exercised from time to time and as often as may be deemed expedient by the Party
          exercising such remedy.

        Section 30. Relationship of Parties. The Manager is providing services as an independent
contractor. The Manager and Owner shall not by virtue of this Agreement be deemed to be creating
a joint venture, partnership, agency, or employment relationship in the operation of the Hospital
or otherwise. The Manager may not bind the Owner or incur obligations on behalf of the Owner,
except as specifically provided for in this Agreement.
        Section 31. No Third-Party Beneficiaries. There are no intended third-party beneficiaries
under this Agreement, and no third-party shall have any rights or make any claim thereunder, it
being intended that solely the Parties hereto shall have rights and may make claims hereunder.


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        Section 32. Headings. All headings, subheadings, and captions employed within this
Agreement and in the accompanying schedules and exhibits are inserted only for convenience and
ease of reference and are not to be considered in the construction or interpretation of any provision
of this Agreement.
        Section 33. Counterparts. This Agreement may be executed in counterparts, each of which
shall constitute an original, and all of which together shall constitute one and the same document.
This Agreement may be executed by the Parties and transmitted by facsimile or electronic
transmission and if so executed and transmitted, shall be effective as if the Parties had delivered
and executed original of this Agreement.
        Section 34. Benefits and Obligations. The covenants and agreements contained herein
shall inure to the benefit of, and be binding upon, the Parties hereto and their respective successors
and assigns.
      Section 35. Time.       Time is of the essence with respect to all payments under this
Agreement.
        Section 36. Exercise of Discretion. Whenever this Agreement requires any consent or
approval to be given by either Party, or either Party must or may exercise discretion, and except
where specifically set forth to the contrary, the Parties agree that such consent or approval shall
not be unreasonably withheld or delayed, and that such discretion shall be reasonably exercised.
       Section 40. Acknowledgement. The Parties acknowledge that they have been provided
with a copy of this Agreement for review prior to signing it, that they have been given the
opportunity to review it prior to signing it, that they have been given the opportunity to have this
Agreement reviewed by their respective attorneys prior to signing it, and that they understanding
the purpose and effect of this Agreement.


                                [SIGNATURE PAGE FOLLOWS]




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        IN WITNESS WHEREOF, each Party hereto has caused this Agreement to be executed on
behalf of such Party by an authorized representative.


 CAH Acquisition Company 16, LLC, a             Cohesive Healthcare Management &
 Delaware limited liability company             Consulting, LLC, an Oklahoma limited
                                                liability company




By: ______________________________              By: ______________________________
Name: Thomas W. Waldrep, Jr.                    Name: Kathy Hammons
Title: Trustee                                  Title: President/Chief Executive Officer




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                                               Exhibit A
Description of Management Services:

a.        The Manager shall perform the duties set forth below and all other duties that are typical
          and customary for a manager of an acute general medical and surgical hospital and
          shall do so in accordance with a standard of care, skill, and diligence as is required by
          applicable Federal and State laws and regulations; provided, however, that the Trustee
          shall maintain complete and total control over the Hospital’s business affairs given the
          bankrupt nature of the Owner. Without the prior written consent of the Trustee, the
          Manager shall not have the authority to enter into any contract or incur any debt or
          liability in the name of or on behalf of the Owner or Trustee; to enter into any contract
          or other agreement inconsistent with the terms of the Management Agreement or that
          may have a durational Term that extends beyond the term of the Agreement; or to
          borrow money in the name or on behalf of the Owner or Trustee.

b.        During the Term of this Agreement, the Manager shall assist Trustee and Owner in
          connection with the operation of the Hospital by providing the following management-
          related services:

                  i. Hire and discharge Executive and Non-Executive Hospital Personnel,
                     including physicians, physician assistants, nurse practitioners, registered
                     nurses, care aides, and office and other employees, in accordance with all
                     applicable laws, rules, regulations, and standards that govern the Hospital’s
                     operations;

                 ii. Supervise determinations of eligibility of individuals for health care
                     coverage;

                 iii. Manage the marketing and public relations on behalf of the Hospital;

                 iv. Manage provider and payor contracts as necessary for the operation of the
                     Hospital;

                 v. Maintain accounting, billing, and patient records (including medical,
                     financial, and collection records, whether in hard copy or EHR format);

                 vi. Prepare Medicare and Medicaid Cost Reports;

                vii. Administer Hospital’s computerized physician order entries, clinical service
                     records, and other information technology systems;

               viii. Arrange for contracts for vendor services for the Hospital;

                 ix. Maintain accounting records, systems and internal controls consistent and
                     in accordance with all applicable government regulations;


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                x. Pay when due, after obtaining Trustee’s prior written consent, the cost of
                    those third-party services necessary for Manager to carry out the
                    management of Hospital, together with ordinary and necessary management
                    expenses of Hospital, including, but not limited to:

                        1. The cost of all supplies and equipment necessary to provide care and
                           services to the patients of Hospital;

                        2. Insurance premiums and related charges for required insurance;

                        3. All taxes, including real estate taxes, tangible property taxes, and
                           sales taxes;

                        4. Any other expense reasonably incurred in the operation of Hospital an
                           acute general medical and surgical hospital.

c.       Maintenance of Hospital: The Manager shall manage and maintain the Hospital,
         including furniture, fixtures, furnishings, equipment, and other property, in the same
         condition and repair as originally found, normal wear and tear excepted.

d.       Rates and Charges: The Manager shall advise the Trustee with respect to rates and fees
         for the services furnished at the Hospital consistent with any applicable government
         regulations.

e.       Use and Operation of Hospital: The Hospital shall be used and operated as an acute
         general medical and surgical hospital. The Hospital and its staff shall provide care and
         services to patients in a manner consistent with said use and operation and for no other
         purpose without the Trustee’s prior written consent.

f.       Reports: The Manager shall keep the Trustee informed as to the general operating
         condition and management status of the Hospital and shall provide the Trustee with
         regular and timely written management reports, as may be needed to ensure that the
         Hospital maintains compliance with all applicable Federal and State laws and
         regulations, any formal action taken or requests made by any regulatory agency, any
         relevant Bankruptcy Case proceedings, including monthly operating reports in
         accordance with the applicable bankruptcy procedures, and any Order or other ruling
         issued by the Bankruptcy Court with respect to the Bankruptcy Case of Owner.
         Further, the Manager shall timely respond to any ad-hoc or emergency request made
         by the Trustee for a written report or other information, including monthly operating
         reports.




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